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                                            Certificate Number: 01356-VAE-DE-015109238
                                            Bankruptcy Case Number: 10-37875


                                                           01356-VAE-DE-015109238




              CERTIFICATE OF DEBTOR EDUCATION

 I CERTIFY that on June 8, 2011, at 7:27 o'clock PM EDT, John Edward Small,
 Jr. completed a course on personal financial management given by internet by
 Hummingbird Credit Counseling and Education, Inc., a provider approved
 pursuant to 11 U.S.C. § 111 to provide an instructional course concerning
 personal financial management in the Eastern District of Virginia.




 Date:   June 9, 2011                       By:      /s/Michelle Ventour for Victoria Wright


                                            Name: Victoria Wright


                                            Title:   Executive Director of Education
